Case 1:08-cv-01948-HHK Document 4-2 Filed 11/20/08 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR TI-[E DISTRICT OF COLUMBIA

 

LUIS EVAN POBLETE, )
)
Plaintiff, )
)
v.. ) Civil Action No. 1:08-ev-01948
)
NEW CENTURY MORTGAGE CORPORATION,)
ET AL. )
)
Defendants. )
)
OR])ER

Upon consideration of the Defendant Arner`icas Servicing Company’S Motion to Dismiss,
its Memorandum of Points and Authorities in Support thereof, and the record hereto, it is hereby
ORDERED, that the Motion to Dismiss is GRANTED, and this matter shall be, and

hereby is, DISMISSED WITH PREJUDICE as to Defendant Americas Servicing Company.

November _, 2008

 

The Honorable Hem'y H. Kennedy

Copies to:

Amy S. Owen

Kimberly Cole

COCHRAN & OWEN, LLC
8000 Towers Crescent Drive
Suite 160

Vienna, Virginia 22182

William S. Bach, Esqujre
717 D Street, N.W.

Suite 400

Washington, D.C. 20004
Counselfor Plaimzj"

Case 1:08-cv-01948-HHK Document 4-2

Linda S. Woolf

Craig S. Brodsky

GOODELL DEVRIES LEECH & DANN, LLP
One South Street, 20th Floor

Baltimore, Maryland 21202

Counselfor Defendant chen

Loan Servicing, LLC

New Century Mortgage Corporation
18400 Von Karman, Suite 1000
Irvine, California 92612

Dej@ndant

The Washington Finance Group, LLC
(Century Finance Funding)

616 Emerson Street, N.W.
Washington, D.C. 20011

Defendant

Red Box Settlements

1612 U Street, N.W. Suite 405
Washington, D.C. 20009
Defendant

Filed 11/20/08 Page 2 of 2

